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1    MCGREGOR W. SCOTT
     United States Attorney
2    MATTHEW D. SEGAL
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2708
5

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7                   IN THE UNITED STATES DISTRICT COURT
8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,     )          CASE NO. CR.S-05-270 DFL
                                   )
11                  Plaintiff,     )
                                   )
12        v.                       )
                                   )          MOTION TO DISMISS
13   Brenda Murphy                 )
                                   )
14                                 )
                    Defendant.     )
15                                 )
     ______________________________)
16

17        The United States requests leave of court to dismiss the
18   charge against Defendant Brenda Murphy.       Fed. R. Crim. P. 48(a).
19   Co-defendant Gibson now has stated under oath that he was the
20   possessor of all of the narcotics in both safes in Defendant
21   Murphy’s bedroom.   Given that and his evinced intent to testify
22   //
23   //
24   //
25   //
26   //
27   //
28   //

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              Case 2:05-cr-00270-JAM Document 69 Filed 01/09/07 Page 2 of 2


1    that Murphy had no knowledge of any of the drugs in her bedroom,
2    the evidence would probably be insufficient to obtain and sustain
3    a conviction of Defendant Murphy.         See U.S.A.M. 9-27.220.
4
                                               Respectfully Submitted,
5                                              McGREGOR W. SCOTT
                                               United States Attorney
6

7
     DATED:    January 8, 2007           By:    /s/ Matt Segal
8                                              MATTHEW D. SEGAL
                                               Assistant U.S. Attorney
9

10
     SO ORDERED.
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13   DATE: January 8, 2007
                                               /s/ David F. Levi
14                                             HON. DAVID F. LEVI
                                               U.S. District Judge
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